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CENTRAL DISTRICT OF
UNITED STATES OF AMERICA
V.
LASHAWN ANDREA LYNCH CRIMINAL COMPL !
Reg. Number: 33421-112 fi 14 001 89

CASE NUMBER:

I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about__November 5, 2013 , in Los Angeles County, in the Central
District of California defendant LASHAWN ANDREA LYNCH did escape from the custody
of United States Attorney General in violation of Title 18 United States Code, Section(s) _751
I further state that I am a(n) Deputy U.S. Marshal and that this complaint is based on the following facts:

On November 5, 2013, information was received from the Federal Bureau of Prisons, Community Corrections
Center, that LYNCH had escaped from the Marvin Gardens Community Corrections Center, 9411 S. Central
Avenue, Los Angeles, CA 91710. LYNCH is described as a black female, born October 7, 1991, 5'05" tall,
weighing 160 lbs, with black hair and brown eyes. The institution and/or court records I reviewed indicate that
on June 8, 2009, LYNCH was sentenced to a term of 60 months’ imprisonment and four years’ supervised release
by the United States District Court for the Central District of California, for violating Title 21, United States
Code, Section 841(a)(1), Possession with Intent to Distribute and Distribution of Heroin.

On August 1, 2013, LYNCH was transferred from FCI Dublin Satellite Camp to the Marvin Gardens RRC to
complete the final portion of her sentence. On November 5, 2013, LYNCH walked away from the facility with
her personal effects and failed to return to the facility. As a result, the RRM was notified and LYNCH was
placed on escape status. At the time of escape, LYNCH had a projected release date of December 29, 2013.

Continued on the attached sheet and made a part hereof: DYes KINo

_ .S/

Signature of Complainant
Sworn to before me and subscribed in my presence, Rachel Swalls
Deputy U.S. Marshal

[ 4 v [ mot at Los Angeles, California

Date | City and State

 

 

ANDREW J, WISTRICH

Name & Title of Judicial Officer , Signature of Judicial Officer

Ryan H. Weinstein
Ritw ‘vb «6 (Warrant) and Detention
